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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                                  Criminal No. 3-CR-19-09
    v.                                 :
                                                     (JUDGE MANNION)
BRUCE EVANS, SR. and                  :
BRUCE EVANS, JR.,
                                      :
          Defendants


                                  ORDER
         In accordance with the Memorandum issued this same day, IT IS
HEREBY ORDERED:

   1.     Klepadlo’s motion to quash the trial subpoena of defendant

          Evans Sr.’s to preclude the defendants from calling him as

          witness at his trial and compelling him to testify based on his 5th

          Amendment privilege against self-incrimination, (Doc. 132), is

          GRANTED IN PART and, DENIED IN PART.

   2.     Specifically, the court finds that Klepadlo can invoke his 5th

          Amendment privilege against self-incrimination regarding all of

          the proposed questions counsel for defendants would ask him at

          trial that involve his conduct relating to the GTSA that occurred

          on or after September 6, 2016. Thus, counsel for defendants

          are precluded from asking Klepadlo any such questions when he

          is testifying at trial in front of the jury. Counsel for defendants are



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                 permitted to ask Klepadlo questions related to his activities

                 involving the GTSA that were covered by the offenses he pled

                 guilty to and regarding his activities that occurred prior to

                 September 6, 2016, since the statute of limitations expired for

                 any such criminal conduct.

          3.     The defendants’ request for the court to dismiss with prejudice

                 the superseding indictment and all of the charges against them

                 due to the alleged violations of their due process rights, (Doc.

                 162 at 4), is DENIED.




                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge




Date: December 8, 2021
19-09-07-ORDER




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